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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
UNITED STATES OF AMERICA                            :
                                                    :             CRIMINAL ACTION
                                                    :             No. 20-cr-00045
                       v.                           :
                                                    :
ABDUR RAHIM ISLAM                                   :
SHAHIED DAWAN                                       :
KENYATTA JOHNSON                                    :
DAWN CHAVOUS                                        :
               Defendants.                          :



                                              ORDER


       This 15th day of March, 2021, for the reasons in the accompanying Memorandum, it is

hereby ORDERED that Defendant Abdur Rahim’s Islam’s Motion to Dismiss (ECF 51) is

GRANTED in part and DENIED in part as follows:

   •   Count Eight of the Indictment (ECF 1) shall be amended as to strike reference to intended

       “extortion” in violation of “18 U.S.C. § 1951.”

In all other respects the Motion is denied.



                                                                  /s/ Gerald Austin McHugh
                                                                  United States District Judge
